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                       Exhibit 1 
                                
                                
                                
                                
                                
                                
                                
                                
                                
                                
                                
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                       Exhibit 2 
                                
                                
                                
                                
                                
                                
                                
                                
                                
                                
                                
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                       Exhibit 3 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
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Humane Society International Inc v Kyodo Senpaku Kaisha
Ltd [2008] FCA 3 (15 January 2008)
Last Updated: 15 January 2008

                               FEDERAL COURT OF AUSTRALIA

       Humane Society International Inc v Kyodo Senpaku Kaisha Ltd [2008] FCA 3



ENVIRONMENT – contravention by respondent of Environment Protection and Biodiversity
Conservation Act 1999 (Cth)

PRACTICE AND PROCEDURE – public interest injunction – discretion whether to grant
relief – futility


Antarctic Treaty (Environment Protection) Act 1980 (Cth) s 7
Environment Protection and Biodiversity Conservation Act 1999 (Cth) ss 3, 5, 225, 229, 229A,
229B, 229C, 229D, 230, 231, 238, 475, 498B
Evidence Act 1995 (Cth) ss 87, 88
Trade Practices Act 1974 (Cth) s 80

International Convention for the Regulation of Whaling [1948] ATS 18
United Nations Convention on the Law of the Sea [1994] ATS 31

Abebe v Commonwealth [1999] HCA 14; (1999) 197 CLR 510 referred to
Bass v Permanent Trustee [1999] HCA 9; (1999) 198 CLR 334 referred to
Citron v Zündel (No 4) (2002) 41 CHRR D/274 referred to
Mabo v Queensland (No 2) [1992] HCA 23; (1992) 175 CLR 1 cited
Simonton v Australian Prudential Regulation Authority [2006] FCAFC 118; (2006) 152 FCR
129 cited
Truth About Motorways v Macquarie Infrastructure Investment Management Ltd [2000] HCA
11; (2000) 200 CLR 591 referred to
Vincent v Peacock [1973] 1 NSWLR 466 referred to
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HUMANE SOCIETY INTERNATIONAL INC v KYODO SENPAKU KAISHA LTD
NSD 1519 OF 2004

ALLSOP J
15 JANUARY 2008
SYDNEY

IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY                 NSD 1519 OF 2004
BETWEEN:         HUMANE SOCIETY INTERNATIONAL INC
                 Applicant
AND:             KYODO SENPAKU KAISHA LTD
                 Respondent

JUDGE:                    ALLSOP J
DATE OF ORDER: 15 JANUARY 2008
WHERE MADE:               SYDNEY
1. THE COURT DECLARES that the respondent has killed, injured, taken and interfered with
Antarctic minke whales (Balaenoptera bonaerensis) and fin whales (Balaenoptera physalus) and
injured, taken and interfered with humpback whales (Megaptera novaeangliae) in the Australian
Whale Sanctuary in contravention of sections 229, 229A, 229B and 229C of the Environment
Protection and Biodiversity Conservation Act 1999 (Cth), (the "Act"), and has treated and
possessed such whales killed or taken in the Australian Whale Sanctuary in contravention of
sections 229D and 230 of the Act, without permission or authorisation under sections 231, 232 or
238 of the Act.
2. THE COURT ORDERS that the respondent be restrained from killing, injuring, taking or
interfering with any Antarctic minke whale (Balaenoptera bonaerensis), fin whale
(Balaenoptera physalus) or humpback whale (Megaptera novaeangliae) in the Australian Whale
Sanctuary, or treating or possessing any such whale killed or taken in the Australian Whale
Sanctuary, unless permitted or authorised under sections 231, 232 or 238 of the Environment
Protection and Biodiversity Conservation Act 1999 (Cth).
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Note: Settlement and entry of orders is dealt with in Order 36 of the Federal Court Rules.

IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY                 NSD 1519 OF 2004
BETWEEN:         HUMANE SOCIETY INTERNATIONAL INC
                 Applicant
AND:             KYODO SENPAKU KAISHA LTD
                 Respondent

JUDGE:                   ALLSOP J
DATE:                    15 JANUARY 2008
PLACE:                   SYDNEY



                                 REASONS FOR JUDGMENT



Background

1 These reasons should be read against the background of the earlier judgments on service:
Humane Society International Inc v Kyodo Senpaku Kaisha Ltd [2004] FCA 1510; (2004) 212
ALR 551, Humane Society International Inc v Kyodo Senpaku Kaisha Ltd [2005] FCA 664 (the
two judgments containing my original reasons for refusing leave to serve outside Australia),
Humane Society International Inc v Kyodo Senpaku Kaisha Ltd [2006] FCAFC 116; (2006) 154
FCR 425 (the Full Court judgment), and Humane Society International Inc v Kyodo Senpaku
Kaisha Ltd [2007] FCA 124 (my reasons on substituted service). I do not propose to repeat
matters there discussed. Phrases and terms used in these reasons (if otherwise undefined or
unexplained) are to be understood by reference to those earlier reasons.

2 This is an application under section 475 of the Environment Protection and Biodiversity
Conservation Act 1999 (Cth) (the "EPBC Act") for injunctive relief and accompanying
declarations in relation to whaling activities undertaken by the respondent in the Australian
Whale Sanctuary, in contravention of ss 229-230 of the EPBC Act. References to section
numbers are to provisions of the EPBC Act unless otherwise stated.

3 The respondent is a company incorporated in Japan, which the evidence reveals is the owner of
a number of ships from which it has engaged, and is likely in the future to engage, in the killing
of various species of whales in the Australian Whale Sanctuary. The respondent has engaged in
such activity pursuant to the Japanese Whaling Research Program under Special Permit in the
Antarctic (JARPA), issued under Article VIII of the International Convention for the Regulation
of Whaling (opened for signature 2 December 1946) 1948 ATS 18 (entered into force 10
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November 1948) (the "Whaling Convention") and monitored by the International Whaling
Commission ("IWC"). From 2005, a second, more extensive, whaling programme has been
undertaken by the respondent under a special permit, known as JARPA II.

4 The applicant is a public interest organisation incorporated in New South Wales, whose stated
objectives include promotion of the "enhancement and conservation of all wild plants and
animals". The applicant qualifies as an "interested person" pursuant to s 475(7) of the EPBC Act,
and is therefore entitled to bring an action claiming the relief sought: see Humane Society
International Inc v Kyodo Senpaku Kaisha Ltd [2004] FCA 1510; (2004) 212 ALR 551 at [15].

The EPBC Act

5 The EPBC Act was enacted by the Commonwealth Parliament in 1999. The objects stated in s
3 of the EPBC Act include, amongst other things, the protection of the environment, particularly
for matters of national environmental significance, conservation of biodiversity and heritage and
promotion of ecologically sustainable development.

6 The EPBC Act is drafted in wide terms. It applies throughout Australia, including its external
territories (s 5(1)), and to adjacent waters claimed as Australia’s Exclusive Economic Zone. It
applies to all persons and all vessels within territorial Australia and the exclusive economic zone,
including persons who are not Australian citizens and vessels that are not registered Australian
vessels: s 5(4).

7 One of the stated means by which the Parliament has expressed its intention to achieve the
objects of the Act is by the establishment of the Australian Whale Sanctuary "to ensure the
conservation of whales and other cetaceans": s 3(2)(e)(ii). The Australian Whale Sanctuary is
established by s 225 of the EPBC Act, which is in the following terms:

(1) The Australian Whale Sanctuary is established in order to give formal recognition of the high
level of protection and management afforded to cetaceans in Commonwealth marine areas and
prescribed waters.

(2) The Australian Whale Sanctuary comprises:

(a) any waters of the sea inside the seaward boundary of the exclusive economic zone, except:

(i) waters, rights in respect of which have been vested in a State by section 4 of the Coastal
Waters (State Title) Act 1980 or in the Northern Territory by section 4 of the Coastal Waters
(Northern Territory Title) Act 1980; and

(ii) waters within the limits of a State or the Northern Territory; and

(b) any waters over the continental shelf, except:
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(i) waters, rights in respect of which have been vested in a State by section 4 of the Coastal
Waters (State Title) Act 1980 or in the Northern Territory by section 4 of the Coastal Waters
(Northern Territory Title) Act 1980; and

(ii) waters within the limits of a State or the Northern Territory; and

(iii) waters covered by paragraph (a); and

(c) so much of the coastal waters of a State or the Northern Territory as are prescribed waters.

8 Sections 229 to 230 make it an offence to kill, injure, intentionally take or otherwise deal with
a cetacean in the Australian Whale Sanctuary. The relevant provisions are as follows:

229 Killing or injuring a cetacean

(1) A person is guilty of an offence if:

(a) the person takes an action; and

(b) the action results in the death or injury of a cetacean; and

(c) the cetacean is in:

(i) the Australian Whale Sanctuary (but not the coastal waters, or a part of the coastal waters, of
a State or the Northern Territory for which a declaration under section 228 is in force); or

(ii) waters beyond the outer limits of the Australian Whale Sanctuary.

(1A) Strict liability applies to paragraph (1)(c).

(2) The offence is punishable on conviction by imprisonment for not more than 2 years or a fine
not exceeding 1,000 penalty units, or both.

229A Strict liability for killing or injuring a cetacean

(1) A person is guilty of an offence if:

(a) the person takes an action; and

(b) the action results in the death or injury of a cetacean; and

(c) the cetacean is in:

(i) the Australian Whale Sanctuary (but not the coastal waters, or a part of the coastal waters, of
a State or the Northern Territory for which a declaration under section 228 is in force); or
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(ii) waters beyond the outer limits of the Australian Whale Sanctuary.

(2) Strict liability applies to paragraphs (1)(a), (b) and (c).

(3) The offence is punishable on conviction by a fine not exceeding 500 penalty units.

229B Intentionally taking etc. a cetacean

(1) A person is guilty of an offence if:

(a) the person takes, trades, keeps, moves or interferes with a cetacean; and

(b) the cetacean is in:

(i) the Australian Whale Sanctuary (but not the coastal waters, or a part of the coastal waters, of
a State or the Northern Territory for which a declaration under section 228 is in force); or

(ii) waters beyond the outer limits of the Australian Whale Sanctuary.

(2) Strict liability applies to paragraph (1)(b).

(3) The offence is punishable on conviction by imprisonment for not more than 2 years or a fine
not exceeding 1,000 penalty units, or both.

(4) In this Act:

interfere with a cetacean includes harass, chase, herd, tag, mark or brand the cetacean.

trade a cetacean:

(a) includes:

(i) buy the cetacean, agree to receive it under an agreement to buy, agree to accept it under such
an agreement or acquire it by barter; or

(ii) sell the cetacean, offer it for sale, agree to sell it, have it in possession for the purpose of
sale, deliver it for the purpose of sale, receive it for the purpose of sale or dispose of it by barter
for the purpose of gain or advancement; or

(iii) cause or allow any of the acts referred to in subparagraph (i) or (ii) to be done; but

(b) does not include export the cetacean from Australia or an external Territory or import it into
Australia or an external Territory.

229C Strict liability for taking etc. a cetacean
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(1) A person is guilty of an offence if:

(a) the person takes, trades, keeps, moves or interferes with a cetacean; and

(b) the cetacean is in:

(i) the Australian Whale Sanctuary (but not the coastal waters, or a part of the coastal waters, of
a State or the Northern Territory for which a declaration under section 228 is in force); or

(ii) waters beyond the outer limits of the Australian Whale Sanctuary.

(2) Strict liability applies to paragraphs (1)(a) and (b).

(3) The offence is punishable on conviction by a fine not exceeding 500 penalty units.

229D Treating cetaceans

Treating unlawfully killed or taken cetaceans

(1) A person is guilty of an offence if:

(a) the person treats a cetacean; and

(b) the cetacean has been:

(i) killed in contravention of section 229 or 229A; or

(ii) taken in contravention of section 229B or 229C.

(2) An offence against subsection (1) is punishable on conviction by imprisonment for not more
than 2 years or a fine not exceeding 1,000 penalty units, or both.

Treating unlawfully imported cetaceans

(2A) A person commits an offence if:

(a) the person treats a cetacean; and

(b) the cetacean has been unlawfully imported.

(2B) An offence against subsection (2A) is punishable on conviction by imprisonment for not
more than 5 years or a fine not exceeding 1,000 penalty units, or both.

(3) In this Act:

treat a cetacean means divide or cut up, or extract any product from, the cetacean.
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230 Possession of cetaceans

Possession of unlawfully killed cetaceans

(1) A person is guilty of an offence if:

(a) the person has in his or her possession:

(i) a cetacean; or

(ii) a part of a cetacean; or

(iii) a product derived from a cetacean; and

(b) the cetacean has been:
(i) killed in contravention of section 229 or 229A; or

(ii) taken in contravention of section 229B or 229C.

(2) An offence against subsection (1) is punishable on conviction by imprisonment for not more
than 2 years or a fine not exceeding 1,000 penalty units, or both.

Possession of unlawfully imported cetaceans

(3) A person commits an offence if:

(a) the person has in his or her possession:

(i) a cetacean; or

(ii) a part of a cetacean; or

(iii) a product derived from a cetacean; and

(b) the cetacean, part or product, as the case may be, has been unlawfully imported.

(4) An offence against subsection (3) is punishable on conviction by imprisonment for not more
than 5 years or a fine not exceeding 1,000 penalty units, or both.

9 A "cetacean" is defined in schedule 1 to the Act as "a member of the sub-order Mysticeti or
Odontoceti of the Order Cetacea". Relevantly, Antarctic minke whales, fin whales and humpback
whales are cetaceans as defined by the EPBC Act.

10 The Commonwealth Director of Prosecutions is responsible for prosecuting any offences
under the EPBC Act, a decision which is made independently of the Executive Government. To
date, the DPP has not sought to prosecute the respondent or others for undertaking the activity
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complained of by the applicant. In the absence of, or in addition to, criminal prosecution, section
475 of the Act gives the Minister, or an "interested person", standing to seek in a civil action an
injunction to restrain conduct that would amount to an offence. This is what has been sought in
this case. The section plainly gives locus standi to the applicant to seek the orders in this
proceeding, without seeking the fiat of the Attorney-General and without any attendant
complexities that might otherwise arise in the civil enforcement or prevention of conduct that is
provided for by the criminal law (here by the same Commonwealth statute).

UNCLOS

11 Territorial claims for some form of sovereignty over waters adjacent to a state are regulated in
international law by the United Nations Convention on the Law of the Sea done at Montego Bay,
10 December 1982 ("UNCLOS"). Article 57 of UNCLOS defines the exclusive economic zone
of a coastal state as not exceeding 200 nautical miles from the baseline from which the territorial
sea is measured.

12 Australia’s claimed exclusive economic zone extends to the waters adjacent to the baseline of
Australia’s external territories, including, importantly for this matter, the Australian Antarctic
Territory. By virtue of the statutory definition in s 225 of the EPBC Act, the waters within 200
nautical miles from the Australian Antarctic Territory land mass are within the Australian Whale
Sanctuary.

13 Australia’s claim to sovereignty over the Australian Antarctic Territory is recognised only by
four nations (New Zealand, France, Norway and the United Kingdom), themselves with asserted
(and otherwise disputed) claims over various parts of the Antarctic land mass. Japan rejects
Australia’s purported exercise of jurisdiction over waters that are considered by Japan to be the
high seas. This is not a ground for invalidity of the EPBC Act: the sovereign claim by Australia
to the Australian Antarctic Territory is not a matter capable of being questioned in this Court in
this proceeding: cf Mabo v Queensland (No 2) [1992] HCA 23; (1992) 175 CLR 1. These
matters of sovereignty and international recognition (and lack of extensiveness thereof) can be
taken to have been before, and well recognised by, Parliament when it enacted the EPBC Act.

14 A claim to an exclusive economic zone does not amount to sovereignty for all purposes. See
Humane Society International Inc v Kyodo Senpaku Kaisha Ltd [2005] FCA 664 at [11] – [13]
for a discussion of the rights flowing from a claim to the exclusive economic zone.

History of the litigation

15 The applicant commenced proceedings in this Court on 19 October 2004. On the same day,
the applicant also filed a notice of motion, together with supporting affidavits, seeking leave to
serve the respondent out of the jurisdiction in Japan, in accordance with Order 8 rule 2 of the
Federal Court Rules. On 23 November 2004, I ordered the applicant to serve copies of
documents in the proceeding on the Attorney-General for the Commonwealth, on the basis that it
was appropriate that he be informed of the nature of the matter.
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16 In due course, the Attorney-General filed submissions as amicus curiae. The substance of
those submissions was that the subject matter of the proceedings was a matter best dealt with by
the Executive Government, and it was not appropriate for the Court to exercise its discretion to
grant relief, either to serve the respondent out of the jurisdiction, or final relief of the nature of
the declarations and injunctions sought. After considering submissions both from the Attorney-
General and the applicant, I gave judgment on 27 May 2005, dismissing the motion: see Humane
Society International Inc v Kyodo Senpaku Kaisha Ltd [2005] FCA 664. I do not propose to set
out my reasons enunciated therein; it is sufficient to say that, in light of the international position,
including the view of Japan that the assertion of jurisdiction in this matter would be a breach of
international law, including, but not limited to, the Whaling Convention, of the place of an
international body, the IWC, to deal with the issue of the killing of whales for scientific or other
purposes, of the expression of the Executive Government of its (non-justiciable) view of
Australia’s long-term national interest, of the placing of the Court at the centre of an
international dispute (indeed, helping to promote such a dispute) between Australia and a
friendly foreign power, and of the likelihood that any attempt to enforce an injunction against the
respondent would be futile (a matter that was never seriously contested by the applicant on the
application for leave to serve out of Australia), I was not persuaded that the Court’s exercise of
discretion to grant leave to serve the respondent outside the jurisdiction was appropriate.

17 On that day, senior counsel for the applicant made an application for leave to appeal under the
Federal Court Rules, as he was entitled to do. I granted that leave.

18 The applicant was successful on appeal to the Full Court: see Humane Society International
Inc v Kyodo Senpaku Kaisha Ltd [2006] FCAFC 116; (2006) 154 FCR 425. The Full Court
unanimously held that the considerations to which I referred (which were broadly characterised
by the Full Court as "political") should not affect the exercise of judicial discretion where, as
here, the action is otherwise justiciable. The joint judgment of Black CJ and Finkelstein J at [12]
and [13] (with which propositions Moore J concurred at [38]) stated:

...It may be accepted that whilst legal disputes may occur in a political context, the exclusively
political dimension of the dispute is non-justiciable. It is appropriately non-justiciable because
the Court lacks competence to resolve disputes and issues of an exclusively political type, the
resolution of which will involve the application of non-judicial norms: compare Japan Whaling
Association v American Cetacean Society (1986) 487 US 221 at 230.

Even if, in special circumstances, there is occasion for political considerations to be taken into
account in deciding whether an action should be permitted to go forward, there is no room, in
our view, for those considerations where, as here, the Parliament has provided that the action is
justiciable in an Australian court: R v Bow Street Metropolitan Stipendiary Magistrate; Ex parte
Pinochet Ugarte [1998] UKHL 41; [2000] 1 AC 61 at 107.

19 Further, the majority of the Full Court (Black CJ and Finkelstein J, contra Moore J) stated
that considerations of futility of enforcement of any final relief were premature when
determining whether or not to exercise discretion to allow service out of the jurisdiction. The
majority said the following at [14] – [16]:
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On the question of futility, that is the lack of means of making an injunction effective, we also
disagree with the approach of the primary judge in several respects. First, while it may be
accepted that an injunction is by its nature a discretionary remedy which may be refused if it
cannot be enforced, the question whether an injunction should be granted is to be dealt with
either in an application (if there be one) to set aside service (Agar v Hyde at 574-575) or, more
appropriately, when the application itself is heard and not when the court is deciding whether
there should be leave to serve out of the jurisdiction (see, by analogy, Helicopter Utilities Pty
Ltd v Australian National Airlines Commission (1963) 80 WN NSW 48 at 51).

Second, it seems to us that the judge in effect imposed upon the appellant the obligation of
showing that an injunction would be a useful remedy. In fact the reverse is true. It is the
defendant who has the onus of showing that it has no assets within the jurisdiction which could
be sequestrated in punishment for contempt: Hospital for Sick Children (Board of Governors) v
Walt Disney Productions Inc [1968] Ch 52 at 71.

Third, we consider that when asked to grant an injunction, the court should not necessarily
contemplate that it would be disobeyed: In re Liddell’s Settlement Trusts [1936] Ch 365 at 373-
374; Castanho v Brown & Root (UK) Ltd [1981] AC 557 at 574; Republic of Haiti v Duvalier
[1990] 1 QB 202 at 216; South Bucks District Council v Porter [2003] UKHL 26; [2003] 2 AC
558 at 580. There are many cases where parties out of the jurisdiction have been subjected to an
injunction regarding their conduct abroad. The cases to which we have referred show that if a
person is properly served in accordance with the court’s exorbitant jurisdiction, that person (so
far as the jurisdiction of the court is concerned) is in the same position as a person who is within
its territorial jurisdiction. Nevertheless, in an appropriate case the judge may refuse to grant an
injunction because the defendant is outside the jurisdiction and is likely to ignore the order. It
will all depend upon the circumstances and, at the present stage of these proceedings, they are
not yet known.

Service and non-appearance of the respondent

20 Following the Full Court judgment, the applicant attempted, unsuccessfully, to serve the
respondent in Japan via diplomatic channels. The Japanese Ministry of Foreign Affairs, in a note
verbale dated 26 October 2006, refused to allow the documents to be accepted for service on the
grounds that "this issue relates to waters and a matter over which Japan does not recognise
Australia’s jurisdiction". The applicant then filed a notice of motion on 31 January 2007, seeking
substituted service upon the respondent in accordance with Order 7 rule 9 of the Federal Court
Rules.

21 On 2 February 2007, I made the following orders for service upon the respondent:

1. The applicant be permitted to serve the originating process on the respondent in Japan by:

(a) Serving the following documents on or before 1 April 2007:

(i) Copies in English of the amended application and the amended statement of claim;
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(ii) Copies in Japanese of the amended application and the amended statement of claim; and

(iii) A copy of this order in English and Japanese.

(b) Serving the documents referred to in 1(a) on the respondent by:

(i) Sending by registered post addressed to the managing director of the respondent at the
following address, being the respondent’s registered place of business: 4-5 Toyomi-cho, Chuo-
ku, Tokyo, Japan; and

(ii) Serving the said documents at the respondent’s registered place of business: 4-5 Toyomi-cho,
Chuo-ku, Tokyo, Japan.

22 The applicant relied on an affidavit of Emily Lucienne Besser, a solicitor of the firm
representing the applicant, affirmed 6 August 2007, in relation to service upon the respondent by
registered post. Ms Besser deposed that on 27 February 2007, copies of the relevant documents
were sent to the respondent by registered post in accordance with order (1)(b)(i) of the orders of
2 February 2007. Exhibit ELB-2 to that affidavit is the registered post receipt, identifying the
respondent’s address. Exhibit ELB-3 is a copy of the envelope sent to the respondent, which was
returned on 12 March 2007. The envelope was unopened and was marked with Japanese
characters, the translation of which reads "refuse to receive".

23 The applicant also relied upon an affidavit of Diana Beaton, affirmed 31 August 2007. Ms
Beaton is an administrative assistant at the firm representing the applicant. Ms Beaton deposed
that on 27 July 2007, she sent by registered post a further copy of the relevant documents to the
respondent’s registered address in Tokyo. That package was also returned, unopened, marked
"RETOUR/REFUSE".

24 In relation to the personal service upon the respondent at its offices in Tokyo, the applicant
read the affidavit of Mikio Hisamatsu, affirmed 24 March 2007. Mr Hisamatsu, a lawyer,
attended the respondent’s office in Tokyo on 21 February 2007. Mr Hisamatsu attended upon the
respondent’s General Affairs Department, and handed the package of service documents to a
woman there, identifying the package as legal documents to be served upon the company. Mr
Hisamatsu deposed that the woman took the envelope, but indicated that she was not authorised
to accept service. Mr Hisamatsu was then confronted by a man who identified himself as the
"sub-department leader" of the respondent. That person was holding the package, but also stated
he would not accept service. Mr Hisamatsu then deposed that the sub-department leader returned
with an apparently more senior person, who again refused to accept service on the grounds that
"you have not identified yourself, this envelope is not sealed and there is no name on it". The
senior person attempted to return the package to Mr Hisamatsu. However, Mr Hisamatsu refused
to accept it and left the building, leaving the package with the employees of the respondent.

25 Based on the above, I am satisfied that the applicant has served the relevant documents on the
respondent in accordance with the orders of 2 February 2007 and that the respondent was aware
of the proceeding against it in this Court.
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26 After reserving judgment on this matter, I directed the applicant to write to the Attorney-
General for the Commonwealth to ascertain whether he remained of the same view as expressed
in his submissions relating to leave to serve out of the jurisdiction. In a letter dated 12 October
2007, the Attorney-General’s advisors expressed the opinion that the service by the applicant
was defective and that "Japan would view neither the proceedings nor any judgment arising from
them as legitimate". However, in circumstances such as these, where the Full Court of this Court
has ordered that the respondent be served out of the jurisdiction, and where the Japanese
Government has declined to assist in that service (as outlined above), I am of the opinion that the
orders of 2 February 2007 are in accordance with the Rules. In so saying, I refer to my reasons
given for granting substituted service (given on 16 February 2007): see Humane Society
International Inc v Kyodo Senpaku Kaisha Ltd [2007] FCA 124.

27 Following substituted service, the matter was called on for hearing on 18 September 2007.
The respondent did not file a notice of appearance prior to that time and did not appear on the
morning of the hearing. The respondent was called outside the Court, but failed to appear. The
matter then proceeded without the respondent being present. The applicant did not seek orders on
a default basis, but proceeded to prove the matters required to establish the claim.

Pleadings

28 The applicant originally sought leave to serve upon the respondent a pleading to the effect
that the whaling conducted pursuant to the Japanese Whaling Research Program under Special
Permit in the Antarctic (JARPA) by the respondent was not scientific whaling. Leave was not
given to serve a pleading containing that allegation, as the allegation was not particularised.
There was no appeal from that part of the original decision to refuse leave to serve out of
Australia. In the circumstances, this proceeding has been conducted on the premise that JARPA
(and later JARPA II) are not challenged as lawful permits under the Whaling Convention and
thus it was not asserted that the impugned activity of the respondent was and is not scientific
research.

29 The amended statement of claim asserts the following:

• That the respondent has intentionally engaged in a series of activities that have resulted in
Antarctic minke whales and fin whales being killed, taken and interfered with, and humpback
whales being taken and interfered with, within the Australian Whale Sanctuary, and subsequently
intentionally treated and possessed in contravention of ss 229, 229A, 229B, 229C, 229D and 230
of the EPBC Act;

• That the conduct was done in accordance with the Japanese Whaling Research Program under
Special Permit in the Antarctic (JARPA) issued by the government of Japan under Article VIII
of the Whaling Convention;

• That JARPA is not a recognised foreign authority for the purposes of subsection 7(1) of the
Antarctic Treaty (Environment Protection) Act 1980 (Cth).
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• That the respondent is not permitted or authorised to kill, take, interfere with, treat or possess
whales in accordance with ss 231, 232 or 238 of the EPBC Act;

• That, unless restrained, the respondent will in the future intentionally kill, take and interfere
with within the Australian Whale Sanctuary, and subsequently intentionally treat and possess
Antarctic minke whales, fin whales and humpback whales in contravention of the EPBC Act.

The hearing

30 The evidence reveals that the whaling activity in the waters off Antarctica was undertaken by
a fleet of five vessels: the MV Kyoshin Maru No 2, a sighting and survey vessel that steamed
ahead of the fleet to locate whale pods; the MV Yushin Maru, the MV Kyo Maru No 1 and the
MV Toshi Maru No 25, being sampling or "catcher" vessels used for hunting and killing whales;
and the MV Nisshin Maru, being the base ship where the slaughtered whales were processed and
research carried out. The MV Toshi Maru No 25 was retired prior to the 2002/2003 season and
was replaced with the MV Yushin Maru No 2. The MV Kaikoh Maru, a second sighting and
survey vessel, also participated in the 2005/2006 and 2006/2007 whaling seasons.

31 The evidence of the registration of each of the vessels Kyoshin Maru No 2, Yushin Maru,
Yushin Maru No 2, Kyo Maru No 1, Kaikoh Maru, Toshi Maru No 25 and Nisshin Maru
discloses that the respondent is the owner of the vessels. That is sufficient prima facie evidence
of ownership: Tisand Pty Ltd v The Owners of the Ship MV Cape Moreton (Ex Freya) [2005]
FCAFC 68; (2005) 143 FCR 43 at 85 [171]. There was no suggestion in the evidence that the
registration was, or was likely to be, in any way inaccurate. Although the respondent’s purposes,
as stated in its company registration certificate, include "conducting shipping and lease of
vessels", there is no evidence to suggest that that the vessels were either demise or time chartered
when they were engaged in the whaling activity.

32 Under JARPA, the whaling activity was conducted in two groups of areas, alternating on a
biennial basis. In the 2001/2002 and 2003/2004 seasons, whaling was conducted south of latitude
60deg. S to the ice edge of the Antarctic land mass between longitude 35deg. E and longitude
130deg. E (referred to as Area IV and Area IIIE). In the 2000/2001, 2002/2003 and 2004/2005
seasons, whaling was conducted south of latitude 60deg. S to the ice edge of the Antarctic land
mass between longitude 130deg. E and longitude 145deg. W (referred to as Area V and Area
VIW). After the introduction of JARPA II, the internal boundaries were shifted such that in the
2005/2006 season, whaling occurred between 35deg. E and 175deg. E and in 2006/2007,
between 175deg. E and 145deg. W.

33 The applicant relied upon reports submitted by the respondent to the IWC pursuant to JARPA
(and from the 2005/2006 season onwards, JARPA II) to establish the respondent’s whaling
activity in the Antarctic. The reports identify that whale pods were located and pursued by the
sighting and survey vessels in a manner that falls within the statutory definition of "interfering"
with a cetacean within the scope of 229B(1) and (4).

34 The numbers of whales killed in the waters off Antarctica each season, as outlined by the
reports, are as follows:
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       Whaling season             Number of Antarctic minke Number of fin whales killed
                                  whales killed under JARPA under JARPA and JARPA II
                                        and JARPA II
          2000/2001                            440                                0
          2001/2002                            440                                0
          2002/2003                            440                                0
          2003/2004                            440                                0
          2004/2005                            440                                0
          2005/2006                            853                               10
          2006/2007                            505                                3
             Total                            3,558                              13

35 The reports indicate that no humpback whales were killed under the JARPA II regime during
the "feasibility study" period, which comprised the 2005/2006 and 2006/2007 seasons. However,
the 2006/2007 report stated that the "full-scale JARPA II will start from the 2007/08 season",
during which time the respondent expected to take 50 humpback whales, 50 fin whales and 850
Antarctic minke whales each season. I therefore conclude that it is likely that the respondent will
kill humpback whales in future seasons.

36 The 2005/2006 and 2006/2007 reports stated that "biopsy samples" were taken from
humpback whales, as well as other whale species, by use of a compound crossbow. I am satisfied
that this non-lethal method of sampling amounted to injuring, interfering with and treating a
cetacean within the definition of the EPBC Act.

37 The applicant tendered photographs annexed to an affidavit of Kieran Paul Mulvaney, a
Greenpeace whaling protester, which identify that after slaughter, the whales were taken aboard
the MV Nisshin Maru and dissected. This is consistent with the respondent’s cruise reports and is
on its face a breach of s 230 of the EPBC Act.

38 The cruise reports filed with the IWC acknowledge the assistance of employees of the
respondent in the preparation of the report. It is reasonably open to infer (and I do) that the
authors of the report include employees of the company, and that the representations made in the
reports go to a matter within the scope of the employees’ employment and authority: the
Evidence Act 1995 (Cth), ss 87 and 88.

39 The area in which the fleet conducted its whaling activities extends beyond the boundaries of
the Australian Whale Sanctuary. Nevertheless, by overlaying a map of the Australian Whale
Sanctuary over the maps in the cruise reports identifying the locations at which whales were
taken, I conclude that a significant number of the whales were taken inside the Australian Whale
Sanctuary.

40 The Australian Government has not issued a permit under s 238 of the EPBC Act authorising
these acts. On the basis of the above, the applicant has established on the balance of probabilities
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that the fleet has engaged in conduct that contravenes ss 229, 229A, 229B, 229C, 229D and 230
of the EPBC Act, and intends to continue doing so in the future under the JARPA II regime.

41 Attribution of acts of individuals to a body corporate for the purposes of the EPBC Act is
prescribed by s 498B(1), which is in the following terms:

Any conduct engaged in on behalf of a body corporate:
(a) by a director, employee or agent of the body corporate within the scope of his or her actual
or apparent authority; or

(b) by any other person at the direction or with the consent or agreement (whether express or
implied) of a director, employee or agent of the body corporate, where the giving of the
direction, consent or agreement is within the scope of the actual or apparent authority of the
director, employee or agent;

is to be taken, for the purposes of this Act, to have been engaged in also by the body corporate
unless the body corporate establishes that the body corporate took reasonable precautions and
exercised due diligence to avoid the conduct.

42 The respondent is the entity authorised by the Japanese Government to conduct the whaling.
No direct evidence has been adduced to establish that the crews of the vessel were employees of
the respondent. I infer, however, that the crews of the various vessels in the fleet were acting in
accordance with the respondent’s authority, under JARPA and JARPA II.

43 Based on the facts outlined above, I am satisfied that the respondent is responsible for the
actions of the whaling fleet for the purposes of the EPBC Act.

44 For the reasons already given in earlier reasons, I am satisfied that the EPBC Act applies to
the Australian Whale Sanctuary and that there is no recognised foreign authority for the purposes
of s 7(1) of the Antarctic Treaty (Environment Protection) Act 1980 (Cth). In reaching this latter
conclusion, I have acted on the submissions and material put on by the applicant and the
concession of the Attorney-General, both referred to at [40] of my reasons published on 27 May
2005 ([2005] FCA 664). Thus, I am satisfied that the respondent has contravened the EPBC Act,
as alleged.

Discretion

45 The Full Court made its views clear (unanimously) as to the taking into account of what
Black CJ and Finkelstein J called in their reasons "political" questions, at the point of leave to
serve out of the jurisdiction. Once leave has been granted, and the matter is before the Court to
be resolved in the exercise of federal jurisdiction, it follows a fortiori from the Full Court’s
views as to the irrelevance of those matters at the point of decision whether to grant leave to
serve process outside Australia that they are irrelevant at the point of final relief. Though it does
not matter for the resolution of this proceeding, it may well be that the breadth or range of
discretionary matters is wider at the point of deciding upon leave to serve out of Australia than at
the point of decision about final relief. In any event, in accordance with the reasons of the Full
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Court, I can give no weight or relevance to the considerations that, when combined with futility,
influenced my earlier decision. I therefore turn to futility, as a separate issue.

46 The respondent has, on the evidence, no presence or assets within the jurisdiction. Unless the
respondent’s vessels enter Australia, thus exposing themselves to possible arrest or seizure, the
applicant acknowledges that there is no practical mechanism by which orders of this Court can
be enforced (supplementary submissions, paragraph 36).

47 In addition to paragraphs [14] – [16] of the majority judgment of the Full Court of this Court
on appeal (excerpted above), Black CJ and Finkelstein J said the following on futility at [18] –
[20]:

There is another way of considering the question of futility. The injunctive relief that the
appellant seeks is relief by way of statutory injunction under s 475 of the EPBC Act. That section
authorises the grant of what has been called a public interest injunction: see ICI Australia
Operations Pty Ltd v TPC [1992] FCA 474; (1992) 38 FCR 248 at 256. Section 475 and the
related provisions in Div 14 of Pt 17 of the EPBC Act have their counterpart in s 80 of the Trade
Practices Act 1974 (Cth) (‘the TP Act’) upon which they appear to have been largely modelled.

Parliament has determined that it is in the public interest that the enforcement provisions of the
EPBC Act should be unusually comprehensive in scope. Section 475 of the EPBC Act and its
related provisions form part of a much larger enforcement scheme contained in the 21 divisions
of Pt 17. The provisions include the conferral of powers of seizure and forfeiture, powers to
board and detain vessels and authority to continue a pursuit on the high seas.

It is an important and distinctive feature of Div 14 of Pt 17 of the EPBC Act that, like s 80(4) of
the TP Act, the Federal Court is expressly empowered to grant an injunction restraining a
person from engaging in conduct whether or not it appears to the Court that the person intends
to engage again in conduct of that kind and, even, whether or not there is a significant risk of
injury or damage to the environment if the person engages or continues to engage in conduct of
that kind: see s 479(1)(a) and (c).

Further, at [21], the majority said:

Although ‘deterrence’ is more commonly used in the vocabulary of the law than ‘education’, the
two ideas are closely connected and must surely overlap in areas where a statute aims to
regulate conduct. Thus, there being a ‘matter’ (see [28] below), the grant of a statutory public
interest injunction to mark the disapproval of the Court of conduct which the Parliament has
proscribed, or to discourage others from acting in a similar way, can be seen as also having an
educative element. For that reason alone the grant of such an injunction may be seen, here, as
potentially advancing the regulatory objects of the EPBC Act. Indeed, some of those objects are
expressed directly in the language of ‘promotion’, including the object provided for by s 3(1)(c),
namely to promote the conservation of biodiversity, which is an object that the legislation links
to the establishment of an Australian Whale Sanctuary ‘to ensure the conservation of whales and
other cetaceans’: s 3(2)(e)(ii).
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48 The majority compared the terms of section 475 of the EPBC Act with similar provisions in s
80 of the Trade Practices Act (at [23] – [25]).

49 Moore J did not agree with the majority on the question of futility of enforcement. His
Honour was of the opinion that both long-standing common law authorities and recent High
Court dicta support the proposition that relief should not be granted unless it would be effectual
(or unless it there are reasonable grounds to believe an injunction will be effacious in the future).
In support of this proposition, Moore J cited the following authorities:

Abebe v Commonwealth [1999] HCA 14; (1999) 197 CLR 510 at [31] per Gleeson CJ and
McHugh J:

The term "matter" has meaning only in the context of a legal proceeding, as the passages from
South Australia v Victoria, Re Judiciary and Navigation Acts, Stack v Coast Securities (No 9)
Pty Ltd and Attorney-General (NSW) v Commonwealth Savings Bank demonstrate. A "matter"
cannot exist in the abstract. If there is no legal remedy for a "wrong", there can be no "matter".
A legally enforceable remedy is as essential to the existence of a "matter" as the right, duty or
liability which gives rise to the remedy. Without the right to bring a curial proceeding, there can
be no "matter". If a person breaches a legal duty which is unenforceable in a court of justice,
there can be no "matter". Such duties are not unknown to the law. For example, in Australian
Broadcasting Corp v Redmore Pty Ltd, this court had to consider the effect on a contract of a
statutory provision which prohibited the making of the contract without the approval of a
minister. The prohibition arose in a context where s 8(1) of the relevant Act imposed a duty on
the board of the appellant to ensure that it did not contravene any provision of the Act but s 8(3)
provided that "[n]othing in this section shall be taken to impose on the Board a duty that is
enforceable by proceedings in a court". Although the point did not arise for decision, it is plain
that breach of the prohibition was incapable of giving rise to a "matter".

(footnotes omitted)

Truth About Motorways v Macquarie Infrastructure Investment Management Ltd [2000] HCA
11; (2000) 200 CLR 591 at [49] per Gaudron J:

Absent the availability of relief related to the wrong which the plaintiff alleges, no immediate
right, duty or liability is established by the court's determination. Similarly, if there is no
available remedy, there is no administration of the relevant law. Thus, as Gleeson CJ and
McHugh J pointed out in Abebe v Commonwealth, "[i]f there is no legal remedy for a `wrong’,
there can be no `matter' ".

Bass v Permanent Trustee [1999] HCA 9; (1999) 198 CLR 334 at [47]:

Because the object of the judicial process is the final determination of the rights of the parties to
an action, courts have traditionally refused to provide answers to hypothetical questions or to
give advisory opinions. The jurisdiction with respect to declaratory relief has developed with an
awareness of that traditional attitude. In Re F (Mental Patient: Sterilisation), Lord Goff of
Chieveley said that:
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a declaration will not be granted where the question under consideration is not a real question,
nor where the person seeking the declaration has no real interest in it, nor where the declaration
is sought without proper argument, for example, in default of defence or on admissions or by
consent.
By "not a real question", his Lordship was identifying what he called the "hypothetical or
academic". The jurisdiction includes the power to declare that conduct which has not yet taken
place will not be in breach of a contract or a law and such a declaration will not be hypothetical
in the relevant sense. Barwick CJ pointed this out in Commonwealth v Sterling Nicholas Duty
Free Pty Ltd. However, that is not the present case.

(footnotes omitted)

50 The applicant submitted that a broad range of remedies are appropriate in attempting to
enforce an order for contempt. In this regard, the applicant cited the case of Simonton v
Australian Prudential Regulation Authority [2006] FCAFC 118; (2006) 152 FCR 129, in
particular [70] – [74].

51 The question of futility can, however, also be seen from a perspective of disobedience. To do
so requires the setting to one side of the refusal by Japan to recognise Australia’s claim to
Antarctica. It is not for this Court to question Australia’s claim or Parliament’s mandate in the
EPBC Act, which is based on Australia’s claim. Thus, this perspective can be seen to be relevant
for this Court to take into account (even if from another perspective, for instance that of Japan,
the perspective is flawed). So viewed, it (futility arising from disobedience and an inability to
bring about obedience) may bring to mind what was said by Hardie, Hutley and Bowen JJA in
Vincent v Peacock [1973] 1 NSWLR 466 at 468:

In our opinion, it is not a ground for refusing an injunction that it would not have a practical
effect, where its failure to have a practical effect is because the defendant disobeys it.

52 Further, one cannot ignore the public interest nature of the claim and the complete recognition
by the Parliament of that type of claim and of the lack of wide international recognition of
Australia’s claim to the relevant part of Antarctica: see the majority of the Full Court reasons at
[2006] FCAFC 116; 154 FCR 425 and [21] – [24]; and see also Citron v Zündel (No 4) (2002) 41
CHRR D/274 at [298] – [301].

53 In the light of the reasons of the majority of the Full Court, I cannot conclude that the
practical difficulty (if not impossibility) of enforcement is a reason to withhold relief.

54 On the material placed before the Court, I am satisfied that the respondent has contravened ss
229, 229A, 229B, 229C, 229D and 230 of the EPBC Act in relation to Antarctic minke whales
and fin whales by killing, injuring, taking and interfering with them and the treating and
possessing of them and by injuring, interfering with and treating and possessing humpback
whales and that, unless restrained, it will continue to kill, injure, take and interfere with them,
and treat and possess them.

55 In all the circumstances, the orders of the Court will be:
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1. The Court declares that the respondent has killed, injured, taken and interfered with Antarctic
minke whales (Balaenoptera bonaerensis) and fin whales (Balaenoptera physalus) and injured,
taken and interfered with humpback whales (Megaptera novaeangliae) in the Australian Whale
Sanctuary in contravention of sections 229, 229A, 229B and 229C of the Environment
Protection and Biodiversity Conservation Act 1999 (Cth), (the "Act"), and has treated and
possessed such whales killed or taken in the Australian Whale Sanctuary in contravention of
sections 229D and 230 of the Act, without permission or authorisation under sections 231, 232 or
238 of the Act.

2. The Court orders that the respondent be restrained from killing, injuring, taking or interfering
with any Antarctic minke whale (Balaenoptera bonaerensis), fin whale (Balaenoptera physalus)
or humpback whale (Megaptera novaeangliae) in the Australian Whale Sanctuary, or treating or
possessing any such whale killed or taken in the Australian Whale Sanctuary, unless permitted or
authorised under sections 231, 232 or 238 of the Environment Protection and Biodiversity
Conservation Act 1999 (Cth).

56 Neither the application nor the amended application contained a request for an order for costs.
I thus make no such order.

I certify that the preceding fifty-six
(56) numbered paragraphs are a true
copy of the Reasons for Judgment
herein of the Honourable Justice
Allsop.



Associate:
Dated: 15 January 2008

Counsel for the Applicant:           Mr S Gageler SC with Mr C McGrath

Solicitor for the Applicant:         Environmental Defender's Office (NSW) Ltd

Counsel for the Respondent:          The Respondent did not appear

Date of Hearing:                     18 September 2007

Date of Judgment:                    15 January 2008


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                       Exhibit 4 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
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                INTERNATIONAL COURT OF JUSTICE
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                                                 Website: www.icj-cij.org

                                                                      Press Release
                                                                      Unofficial




                                                                               No. 2010/16
                                                                               1 June 2010




              Australia institutes proceedings against Japan for alleged breach of
                          international obligations concerning whaling



      THE HAGUE, 1 June 2010.             Australia yesterday instituted proceedings before the
International Court of Justice against the Government of Japan, alleging that

      “Japan’s continued pursuit of a large scale programme of whaling under the Second
      Phase of its Japanese Whale Research Programme under Special Permit in the
      Antarctic (“JARPA II”) [is] in breach of obligations assumed by Japan under the
      International Convention for the Regulation of Whaling (“ICRW”), as well as its other
      international obligations for the preservation of marine mammals and marine
      environment”.

       The Applicant contends, in particular, that Japan “has breached and is continuing to breach
the following obligations under the ICRW:

(a) the obligation under paragraph 10 (e) of the Schedule to the ICRW to observe in good faith the
    zero catch limit in relation to the killing of whales for commercial purposes; and

(b) the obligation under paragraph 7 (b) of the Schedule to the ICRW to act in good faith to refrain
    from undertaking commercial whaling of humpback and fin whales in the Southern Ocean
    Sanctuary.”

      Australia points out that

      “having regard to the scale of the JARPA II programme, the lack of any demonstrated
      relevance for the conservation and management of whale stocks, and to the risks
      presented to targeted species and stocks, the JARPA II programme cannot be justified
      under Article VIII of the ICRW” (this article regulates the granting of special permits
      to kill, take and treat whales for purposes of scientific research).

       Australia alleges further that Japan has also breached and is continuing to breach, inter alia,
its obligations under the Convention on International Trade in Endangered Species of Wild Fauna
and Flora and under the Convention on Biological Diversity.
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                                                -2-

      At the end of its Application, Australia requests the Court to adjudge and declare that “Japan
is in breach of its international obligations in implementing the JARPA II programme in the
Southern Ocean”, and to order that Japan:

      “(a) cease implementation of JARPA II;

      (b) revoke any authorisations, permits or licences allowing the activities which are the
          subject of this application to be undertaken; and

      (c) provide assurances and guarantees that it will not take any further action under the
          JARPA II or any similar programme until such programme has been brought into
          conformity with its obligations under international law.”


                                                  *



      Australia explains in its Application that it has consistently opposed Japan’s JARPA II
programme, both through individual protests and demarches and through relevant international
forums, including the International Whaling Commission.



                                                  *


       As the basis for the jurisdiction of the Court, the Applicant invokes the provisions of
Article 36, paragraph 2, of the Court’s Statute, referring to the declarations recognizing the Court’s
jurisdiction as compulsory made by Australia on 22 March 2002 and by Japan on 9 July 2007.




                                           ___________


    Australia’s Application         will   be   available    shortly   on    the   Court’s    website
(www.icj-cij.org).



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                       Exhibit 5 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
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                       Exhibit 6 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
                                 
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